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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF MARYLAND
                                                  GREENBELT DIVISION
                 In re:
                 VERNON OSBORNE WILLIAMS, II,                              CHAPTER 7
                                   DEBTOR.                                 CASE NO. 18-16962
                                                  NOTICE OF WITHDRAWAL

                          COMES NOW, CIS Financial Services, Inc., by counsel, hereby withdraws the Response
                 to Motion for Authority to Sell Property of the Estate filed on March 29, 2019 as Docket #41 as it
                 was filed in error.


                                                                 Respectfully submitted,

                                                                 SAMUEL I. WHITE, P.C.


                                                                 By: /s/Randa S Azzam
                                                                 Randa S. Azzam, Esquire, Bar No. 22474
                                                                 John E. Driscoll, Esquire, Bar No. 17161
                                                                 Michael T. Freeman, Esquire, Bar No. 19131
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                                                                 Samuel I. White, P.C.
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                                                   CERTIFICATE OF SERVICE

                         I certify that on April 1, 2019, the foregoing Withdrawal was served via CM/ECF on Merrill
                 Cohen, Trustee, and William C. Johnson, Jr., Counsel for Debtor, at the email addresses registered
                 with the Court, and that a true copy was mailed via first class mail, postage prepaid, to Vernon
                 Osborne Williams, II, Debtor, 14407 Saint Gregory Way, Accokeek, MD 20607.

                                                                 /s/Randa S Azzam
                                                                 Randa S. Azzam, Esquire
                                                                 Samuel I. White, P. C.




File No. 69399
